Case 3:18-cv-10507-PGS-JBD Document 185-3 Filed 11/10/23 Page 1 of 4 PageID: 7841




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   Attorney for Proposed Amici Curiae
   Giffords Law Center to Prevent Gun Violence,
   Brady Center to Prevent Gun Violence, and March for Our Lives

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

    ASSOCIATION OF NEW JERSEY
    RIFLE & PISTOL CLUBS, INC., et
    al.,
              Plaintiffs,
                                              HON. PETER G. SHERIDAN
    v.
    MATTHEW J. PLATKIN, in his                      Civil Action No.
    official capacity as Acting Attorney             3:18-cv-10507
    General of New Jersey, et al.,
                 Defendants.

    MARK CHEESEMAN, et al.,
                 Plaintiffs,                    HON. RENEE M. BUMB
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       1:22-cv-04360
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.

    BLAKE ELLMAN et al.,
                 Plaintiffs,                  HON. PETER G. SHERIDAN
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       3:22-cv-04397
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.
Case 3:18-cv-10507-PGS-JBD Document 185-3 Filed 11/10/23 Page 2 of 4 PageID: 7842




              CERTIFICATION OF JENNIFER LOEB IN SUPPORT OF
                   MOTION FOR PRO HAC VICE ADMISSION

   I, Jennifer Loeb, certify:

         1.     I am an attorney with the law firm Freshfields Bruckhaus Deringer

   US LLP, 700 13th Street NW, 10th Floor, Washington, DC 20005. I make this

   certification in support of my pro hac vice admission to this Court pursuant to

   Local Civil Rule 101.1(c)(1) for purposes of acting as counsel for Giffords Law

   Center to Prevent Gun Violence, Brady Center to Prevent Gun Violence, and

   March for Our Lives (together, “proposed amici curiae”).

         2.     I was admitted to the bar of the State of New York on January 8,

   2021 (Bar No. 5817283) and remain in good standing. The office maintaining the

   roll of my admission is: New York State Supreme Court Appellate Division,

   Third Department, State Street, Room 511, Albany, New York 1222.

         3.     I was admitted to the bar of the District of Columbia on August 9,

   2010 (Bar No. 996094) and remain in good standing. The office maintaining the

   roll of my admission is: Bar Association of the District of Columbia, 1016 16th

   Street, NW Suite 101, Washington, DC 20036.

         4.     I was admitted to the bar of the State of California on December 1,

   2009 (Bar No. 266235) and remain in good standing. The office maintaining the

   roll of my admission is: The State Bar of California, 180 Howard St., San

   Francisco, California 94105.

         5.     I am also a member in good standing of the following federal Courts:

                                                                                  2
Case 3:18-cv-10507-PGS-JBD Document 185-3 Filed 11/10/23 Page 3 of 4 PageID: 7843




                   a. U.S. Court of Appeals for the Second Circuit (admitted 2021);

                   b. U.S. District Court for the District of Columbia (admitted

                      2013);

                   c. U.S. District Court for the Central District of California

                      (admitted 2022); and

                   d. U.S. District Court for the Southern District of California

                       (admitted 2022).

         6.     The offices maintaining the rolls of my membership to these Courts

   are: United States Court of Appeals for the Second Circuit, 40 Foley Square, New

   York, NY 10007; United States District Court for the District of Columbia, 333

   Constitution Avenue NW, Washington, DC 20001, Room 1225; United States

   District Court for the Central District of California, 255 East Temple Street, Suite

   180, Los Angeles, California 90012; and United States District Court for the

   Southern District of California, 333 West Broadway, San Diego, California

   92101.

         7.     There are no disciplinary proceedings presently pending against me

   in any jurisdiction, and no discipline has been previously imposed upon me as a

   member of the Bar in any jurisdiction.

         8.     I am counsel for proposed amici curiae, and I have been asked to

   represent them for the purpose of submitting an amici curiae brief in the above

   captioned cases.

         9.     I agree to:

                                                                                     3
Case 3:18-cv-10507-PGS-JBD Document 185-3 Filed 11/10/23 Page 4 of 4 PageID: 7844




                   a. make payment to the New Jersey Lawyer’s Fund for Client

                      Protection as provided by Local Civil Rule 101.1(c)(2) and

                      New Jersey Court Rule 1:28-2(a);

                   b. make payment of $150.00 to the Clerk of this Court in

                      accordance with Local Civil Rule 101.1(c)(3) as amended,

                      within 20 days from the date of the executed Order and abide

                      by the rules of this Court;

                   c. notify this Court immediately of any matters affecting my

                      standing at the Bar of any other court; and

                   d. have an attorney of record authorized to practice in New

                      Jersey sign all pleadings, briefs, and other papers filed with

                      the Court.

   Pursuant to 28 U.S.C. § 1746 I declare under penalty of perjury that the above

   statements are true and correct.


    Dated: November 10, 2023             Respectfully submitted,
                                         /s/ Jennifer Loeb
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                                         March for Our Lives


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